UNITED STATES BANKRUPTCY COURT
EASTERN DISTRCT OF NEW YORK
________________________________________________
                                                )        Chapter 11
                                                )
                                                )        Case No. 19-76260 (AST)
In re:                                          )        Case No. 19-76263 (AST)
                                                )        Case No. 19-76267 (AST)
Absolut Facilities Management, LLC, et al.      )        Case No. 19-76268 (AST)
                                                )        Case No. 19-76269 (AST)
                      Debtors.                  )        Case No. 19-76270 (AST)
                                                )        Case No. 19-76271 (AST)
                                                )        Case No. 19-76272 (AST)
________________________________________________)        (Jointly Administered)
                                                )
EQUAL EMPLOYMENT OPPORTUNITY                    )
COMMISSION,                                     )
                                                )
                      Plaintiff,                )
                                                )
               v.                               )        Adversary Proceeding
                                                )        No. 20-08055-ast
ABSOLUT FACILITIES MANAGEMENT, LLC,             )
ABSOLUT CENTER FOR NURSING AND                  )
REHABILITATION AT ALLEGANY, LLC, ABSOLUT )
CENTER FOR NURSING AND REHABILITATION           )
AT AURORA PARK, LLC, ABSOLUT CENTER             )
FOR NURSING AND REHABILITATION AT               )
GASPORT, LLC, ABSOLUT AT ORCHARD                )
BROOKE, LLC, ABSOLUT CENTER FOR NURSING )
AND REHABILITATION AT ORCHARD PARK, LLC )
ABSOLUT CENTER FOR NURSING AND                  )
REHABILITATION AT THREE RIVERS, LLC             )
and ABSOLUT CENTER FOR NURSING AND              )
REHABILITATION AT WESTFIELD, LLC,               )
                                                )
                              Defendants.       )
________________________________________________)


              PLAINTIFF’S FIRST SET OF DOCUMENT DEMANDS

      PLEASE TAKE NOTICE that Plaintiff, EQUAL EMPLOYMENT OPPORTUNITY

COMMISSION    (“Plaintiff”), by and through its attorney, BREON PEACE, United States



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Attorney for the Eastern District of New York, Megan J. Freismuth, Assistant United States

Attorney, of counsel, hereby submits to Defendant the following set of Document Requests, to be

answered separately and fully in writing, under oath, within thirty (30) days after service, in

accordance with the procedures and definitions set forth below and as specified in the Federal

Rules of Bankruptcy Procedure, the Federal Rules of Civil Procedure, the Local Bankruptcy Rules

for the Eastern District of New York (the “Local Bankruptcy Rules”) and the Local Civil Rules

for the United States District Courts for the Southern and Eastern Districts of New York (the

“Local Civil Rules”), to the Office of the United States Attorney for the Eastern District of New

York, 610 Federal Plaza, 5th Floor, Central Islip, New York 11722, Attn: Megan J. Freismuth,

Assistant U.S. Attorney.

                             DEFINITIONS AND INSTRUCTIONS

       A.      The Plaintiff incorporates by reference the Uniform Definitions in these Discovery

Requests set forth in Local Civil Rule 26.3 of the Local Civil Rules made applicable by Local

Bankruptcy Rules 2004-1 and 7026-1.

       B.      The full text of the Document Request should be set forth immediately preceding

Defendants’ response thereto.

       C.      Information and documents are deemed to be in Defendants’ possession, custody

or control if they are in Defendants’ physical custody and/or, regardless of whether the information

or documents are currently in Defendants’ physical custody, if they are in the physical custody of

any other person and Defendants (a) own such document in whole or in part; (b) have a right by

contract, statute or otherwise to use, inspect, examine or copy such document on any terms; (c)

have an understanding, expressed or implied, that he/she may use, inspect, examine or copy said

document on any terms; or (d) have, as a practical matter, been able to use, inspect, examine or



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copy such document when he/she sought to do so. Such documents shall include, without

limitation, documents that are in the custody of Defendants’ attorney(s) or other agents.

       D.      If the Document Requests call for any information or document(s) that has/have

been lost, destroyed or discarded, furnish an inventory of the missing documents and provide the

following information: the type of document; the general subject matter of the document; the date

of the document; the title and author of the document; the names of any persons who participated

in the preparation of the document; the names of the addressee and any other recipient of the

document; the relationship between the author and the addressee; the number of pages the

document contained; the date that the document was lost, destroyed or otherwise discarded; and

the names of the persons authorizing, participating in or with knowledge of such loss, destruction

or discard.

       E.      Unless otherwise indicated, the responses should include all information known up

to the date of the verification of these discovery demands. All of these requests are deemed to be

continuing so as to require further and supplemental responses as you receive or identify additional

information at any point. Pursuant to Fed. R. Civ. P. 26(e)(1)(A), such supplementary responses

are to be served upon the undersigned counsel for Defendant within a timely manner upon learning

of the additional information.

       F.      Where a claim of privilege is asserted, the attorney asserting the privilege shall

provide the information required by Rule 7034-1 of the Local Bankruptcy Rules.

       G.      As used in the following Document Requests, the term Plaintiff shall be construed

to refer Plaintiff Equal Employment Opportunity Commission.

       H.      As used in the following Document Requests, the term “documents” refers to all

documents, electronically stored information and tangible items as defined by Federal Rule of



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Civil Procedure 34(a)(1)(A)-(B), in original, duplicate and draft form, and shall include without

limitation all pictures, notes, memoranda, letters, reports, publications, contracts, business records,

recordings, transcriptions of recordings (including, but not limited to audio, video, and data

recordings), computer records, presentations, spreadsheets, websites, social media sites, and

electronic messages (including, but not limited to emails, text messages, social media posts or

comments and blogs) with associated metadata.

       I.      As used in the following Document Requests, “Absolut” means Absolut Facilities

Management, LLC; Absolut Center for Nursing and Rehabilitation at Allegany, LLC; Absolut

Center for Nursing and Rehabilitation at Aurora Park, LLC; Absolut Center for Nursing and

Rehabilitation at Gasport, LLC; Absolut at Orchard Brooke, LLC; Absolut Center for Nursing and

Rehabilitation at Orchard Park, LLC; Absolut Center for Nursing and Rehabilitation at Three

Rivers, LLC; and Absolut Center for Nursing and Rehabilitation at Westfield, LLC and; any of

their Affiliates, as well as all directors, officers, partners, employees, consultants, agents,

representatives, attorneys or other persons acting on behalf of the foregoing.

       J.      As used in the following Document Requests, “Chubb” means Chubb insurance

company and any of its Affiliates, as well as all directors, officers, partners, employees,

consultants, agents, representatives, attorneys or other persons acting on behalf of the foregoing.

       K.      As used in the following Document Requests, “Affiliate” means any entity

controlled, directly or indirectly by any company or other business identified in this Subpoena; or

a direct or indirect parent or subsidiary of any such company; or a branch or division of any such

company; or an entity in which any such company or any such company’s direct or indirect parent

or subsidiary owns more than 5% of any such company's capital stock; or an entity that either




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directly or indirectly through one or more intermediaries controls, is controlled by, or is under

common control with any such company.

          L.   As used in the following Document Requests, the “Settlement Funds” means the

$425,000 paid by Chubb to Absolut for claim number 0363972-00022 for settlement of the EEOC

Action.

          M.   As used in the following Document Requests, “Claim” means the insurance claim

submitted by Absolut to its insurance carrier with respect to the EEOC Action and/or insurance

claim number 0363972-00022.

          N.   As used in the following Document Requests, the “EEOC Action” means Equal

Employment Opportunity Commission v. Absolut Facilities Management, LLC, et al., Case No.

1:18-cv-01020 (W.D.N.Y.).

          O.   As used in the following Document Requests, the “Settlement Account” means

M&T bank account number -7673 into which the Settlement Funds were deposited.




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                               DOCUMENTS REQUESTS

1. A copy of the Claim, and any corresponding or attached documents, submitted by Absolut

   to its insurance carrier.

2. Any communications between any employee, agent, officer or representative of Chubb and

   any employee, agent, officer or representative of Absolut concerning i) the Claim; ii) the

   Settlement Funds and; iii) creation of the Settlement Account.

3. Any communications between employees, agents, officers or representative of Absolut

   concerning i) the Claim; ii) the Settlement Funds; and iii) creation of the Settlement

   Account.

4. Any communications between Absolut and any employee, agent, or representative of the

   EEOC concerning i) the Claim; ii) the Settlement Funds and; iii) creation of the Settlement

   Account.

5. Documents reflecting payment of the Settlement Funds.

6. Any documents, including communications between employees, agents, officers or

   representatives of Absolut, concerning the decision to name the Settlement Account

   “Settlement Funds Escrow Account”.

7. Any documents, including communications between employees, agents, officers or

   representatives of Absolut, concerning the decision to change the Settlement Account

   into an account that incurs a monthly fee.

8. Any communications between employees, agents, officers or representatives of Absolut




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       and employees, agents, officers or representatives of M&T Bank concerning the

       Settlement Account.

Dated: Central Islip, New York
       June 17, 2022

                                           BREON PEACE
                                           Acting United States Attorney
                                           Eastern District of New York
                                           610 Federal Plaza
                                           Central Islip, New York 11722
                                           Attorney for Defendant

                                   By:     Megan J. Freismuth
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To:    Via Email: jchubak@aminillc.com
       Jeffrey Chubak, Esq.
       Counsel for Defendants




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